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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 CHARLES HARPER,

        Plaintiff,
                                                                      Case No. 1:20-cv-249
 v.
                                                                      Hon. Hala Y. Jarbou
 ROBERT SPEAKMAN, et al.,

       Defendants.
 ____________________________/


                                             ORDER

       On April 2, 2020, Magistrate Judge Phillip J. Green issued a Report and Recommendation

(R&R) recommending that save Plaintiff’s claims against Robert Speakman and Green Cove

Springs Marina, this action be dismissed for failure to state a claim on which relief may be granted.

(ECF No. 6.) The R&R was duly served on the parties. No objections have been filed, and the

deadline for doing so expired on July 15, 2020. On review, the Court concludes that the R&R

correctly analyzes the issues and makes a sound recommendation.

       Accordingly,

       IT IS ORDERED that the R&R (ECF No. 6) is ACCEPTED and ADOPTED as the

opinion of the Court.
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         IT IS FURTHER ORDERED that Defendants Holly Speakman, Frederick Longberg,

Mary Longberg, Ted McGowen, Clay County Port Inc., Pam Lewis, Donald J. Evers, City of

Green Cove Springs, County of Clay, and Zachary Evers are DISMISSED.



Dated:     November 5, 2020                      /s/ Hala Y. Jarbou
                                                HALA Y. JARBOU
                                                UNITED STATES DISTRICT JUDGE




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